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IN THE UNITED sTATEs DISTRICT cOURT U”€¢H 31 PH 5~33
FOR THE WESTERN DIsTRIcT 0F TENNESSEE,U
wEsTERN DIvIsIoN " `

  

 

JAMES HENDERSON,
Plaintiff,

vs. No. 04-2065-Ml/An

OFFICER COHEN, et al.,

Defendants.

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ORDER OF DISMISSAL
AND
ORDER CERTIFYING APPEAL NOT TAKEN IN GOOD FAITH

 

Plaintiff, James Henderson, booking number 03112396, an inmate
who was formerly confined at the Shelby County Criminal Justice
Center (Jail), filed a complaint under 42 U.S.C. § 1983.l
Plaintiff sued Officer Cohen, Lieutenant Steward, and Inspector
Rodgers. On March 7, 2005, Defendants filed a motion to dismiss
based upon Plaintiff's failure to prosecute. On March 21, 2005,
Defendants filed a motion to dismiss, or in the alternative, motion
for summary judgment, along' with. a supportingl memorandunl and
supporting exhibits. To date, Plaintiff has not responded to the

motion to dismiss or the motion for summary judgment. The Court

 

1 Plaintiff's copies of the Court's orders have been returned to the

Clerk as undeliverable. Defense counsel’s attempted correspondence with the
Plaintiff was returned with the notation that he was released.l2/9/04. Plaintiff
has failed to notify the Clerk of his current address.

Thfs document entered on the docket sheet ln compliance
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has determined, however, that no response is needed based upon its
review of the entire recordq including Plaintiff’s Complaint,
verified in compliance with 28 U.S.C. § 1746 and the exhibits to
the Defendants’ motion to dismiss.

The Defendants have raised the exhaustion requirement as the
basis for their motion for summary judgment. Forty-two U.S.C. §
1997e(a) provides:

No action shall be brought with respect to prison

conditions under section 1983 of this title, or any other

Federal law, by a prisoner confined in any jail, prison,

or other correctional facility until such administrative

remedies as are available are exhausted.
Porter v. Nussle, 534 U.S. 516r 524 (2002).

The Sixth Circuit has held that the language of 42 U.S.C. §
1997e(a) requires a federal court to dismiss a prison conditions
claim without prejudice whenever a prisoner has not demonstrated
that he has exhausted. his administrative remedies. Brown. v.
Toombs, 139 F.Bd 1102, 1103 (6th Cir. 1998); Lavista v. Beeler, 195
F.3d 254 (6th Cir. 1999) (exhaustion requirement applies to claim
alleging denial of medical care ). This requirement places an
affirmative burden on prisoners of pleading particular facts
demonstrating the complete exhaustion of claims. Knuckles El v.
Toombs, 215 F.3d 640, 642 (6th Cir. 2000). Furthermore, § 1997e

requires a prisoner to exhaust his administrative remedies prior to

filing suit and, therefore, he cannot exhaust those remedies during

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the pendency of the action. Freeman v. Francis, 196 F.Bd 641, 645
(6th Cir. 1999).

The Court's review of the record as a whole demonstrates that
Plaintiff's claim is fully within the scope of § 1997e. Plaintiff
alleged that he filed a grievance and received a response that his
grievance was not sustained. He did not attach a copy of his
grievance. The Defendants have filed the affidavit of Deidra
Woodsr custodian of the records of the grievance office. Attached
to Wood's affidavit are Plaintiff’s Grievances # 84854 and #
84855,2 dated Dec. 10, 2003; the recommended informal resolution to
Grievance # 84854, dated Dec. 29, 2003; and the formal response,
signed by Plaintiff and dated January 9, 2004. Henderson indicated
that he agreed with the response and did not file an appeal.
Instead, he filed this Complaint on February 2, 2004. Henderson's
grievances name and relate to his dispute with Defendant Cohen.
The grievances do not name or otherwise contain any references to
Defendants Rodgers and Steward.

Plaintiff had an “available” administrative system for review
of his claims. Porter, 534 U.S. at 524. He failed to utilize that
systan to fully exhaust his claims against Cohen and did not
utilize the systenl to exhaust any claims against Rodgers and
Steward. Furthermore, under existing Sixth Circuit caselaw,

Plaintiff would not be allowed to amend his Complaint to

 

2 Grievance # 84855 was repetitive and deemed nongrievable due to the

ongoing investigation of Grievance #84854. Plaintiff did not appeal.

3

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demonstrate exhaustion.3 “[A] federal court should not prematurely
‘decide' the merits” of an action “unless the complaint satisfies
§ 1997e(c}(2).” Brown v. Toombs, 139 F.3d at 1104. Plaintiff’s
allegations are clearly insufficient to satisfy the exhaustion
requirements of § 199?e(a). Plaintiff's failure to exhaust his
administrative remedies prevents the adjudication of his claims
against any Defendant. ldp “A plaintiff who fails to allege
exhaustion of administrative remedies through ‘particularized
averments’ does not state a claim upon which relief may be granted,
and his complaint must be dismissed ppg sponte.” Baxter, 304 F.3d
at 489 (citing Knuckles-El, 215 F.3d at 642).

Accordingly, the Court determines it would be premature to
render any‘ decision on the lnerits of Plaintiff's claims. As
Plaintiff has not exhausted his administrative remedies, the Court
ppg sponte DISMISSES the Complaint without prejudice under 42
U.S.C. § 1997e(a) as to all Defendants.

The next issue to be addressed is whether Plaintiff should be
allowed to appeal this decision ip fp;ma pauperis. Twenty~eight
U.S.C. § 1915(a)(3) provides that an appeal may not be taken ip
§p;mg pauperis if the trial court certifies in writing that it is

not taken in good faith.

 

3 See Baxter v. Rose, 305 F.3d 486 (6th Cir. 2002) (prisoner who fails

to adequately allege exhaustion may not amend his complaint to avoid a sua sponte
dismissal) .

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The good faith standard is an objective one. Coppedge v.
United States, 369 U.S. 438, 445 (1962). Under Brown v. Toombs, an
appellate court must dismiss a complaint if a prisoner has failed
to comply with § 1997e's exhaustion requirements.

Accordingly, if a district court determines that a complaint
must be dismissed as unexhausted, Plaintiff would not yet be able
to present an issue in good faith on appeal because that appeal
would also be subject to immediate dismissal. Thus, the same
considerations that lead the Court to dismiss this case for failure
to exhaust administrative remedies compel the conclusion that an
appeal would not be taken in good faith.

It is therefore CERTIFIED, pursuant to 28 U.S.C. § l915(a)(3),
that any appeal in this matter by Plaintiff is not taken in good
faith, and Plaintiff may not proceed on appeal ip fp;ma pauperis.

The final matter to be addressed is the assessment of a filing
fee if Plaintiff appeals the dismissal of this case. The Sixth
Circuit Court of Appeals decisions in McGore v. Wriqqlesworth, 114
F.3d 601 (6th Cir. 1997), and Flovd v. United States Postal Serv.,
105 F.3d 274 (6th Cir. 1997), apply to any appeal filed by the
Plaintiff in this case.

If Plaintiff is no longer incarcerated and files a notice of

appeal, he must pay the entire $255 filing fee required by 28

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U.S.C. §§ 1913 and 1917.ll The entire filing fee must be paid
within thirty days of the filing of the notice of appeal.

By filing a notice of appeal the Plaintiff becomes liable for
the full amount of the filing fee, regardless of the subsequent
progress of the appeal. If the Plaintiff fails to comply with the
above assessment of the appellate filing fee within thirty days5 of
the filing of the notice of appeal or the entry of this order,
whichever occurred later, the district court will notify the Sixth
Circuit, which will dismiss the appeal. If the appeal is
dismissed, it will not be reinstated once the fee is paid. McGore,
114 F.3d at 610.

If Plaintiff is still incarcerated, the Sixth Circuit has held
that a certification that an appeal is not taken in good faith does
not affect an indigent prisoner plaintiff’s ability' to take
advantage of the installment procedures contained in § 1915(b).
McGore, 114 F.3d at 610-11. McGore sets out specific procedures

for implementing the PLRA. If Plaintiff wishes to take advantage

 

4 The fee for docketing an appeal is 8250. See Judicial Conference

Schedule of Fees, § 1, Note following 28 U.S.C. § 1913. Under 28 U.S.C. § 1917,
a district court also charges a $5 fee:

Upon. the filing of any separate or joint notice of appeal or
application for appeal or upon the receipt of any order allowingr or
notice of the allowance of, an appeal or of a writ of certiorari $5
shall be paid to the clerk of the district court, by the appellant
or petitioner.

5 The district court may extend this deadline one time by thirty days
if the motion to extend is filed.before the expiration of the original deadline.
McGore, 114 F.3d at 610.

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of the installment procedures for paying the appellate filing fee,

he must comply with the procedures set out in McGore and § 1915 (b) .

IT IS SO ORDERED this ijz( day of May, 20?:!1@
§

JO PHIPPS MCCALLA
UN TED STATES DISTRICT JUDGE

 

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OF

Notice of Distribution

This notice confirms a copy cf the document docketed as number 17 in
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ESSEE

 

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